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EXHIBIT "D"
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             Superior Court of California, County of Alameda




             Notice of Assignment of Judge for All Purposes
                            September 6, 2017

Case Number: RG17878854
Case Title:     Di-Az VS Tesla, Inc.
Date of Filing: 10/16/2017


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to Rule 3.734 of the California Rules of Court and Title 3 Chapter 2 of the
Local Rules of the Superior Court of California, County of Alameda, this action is
hereby assigned by the Presiding Judge for all purposes to:

       Judge:                 Dennis Hayashi
       Department:            518
       Address:               Hayward Hall of Justice
                              24405 Amador Street
                              Hayward CA 94544
       Phone Number:          (510) 690-2727
       Fax Number:            (510) 267-1585
       Email Address:         Dept518@alameda.courts.ca.gov

Under direct calendaring, this case is assigned to a single judge for all purposes including
trial.

Please note: In this case, any challenge pursuant to Code of Civil Procedure section
170.6 must be exercised within the time period provided by law. (See Code Civ. Proc.
§§ 170.6, subd. (a)(2) and 1013.)

NOTICE OF NONAVAILABILITY OF COURT REPORTERS: Effective June 4, 2012, the
court will not provide a court reporter for civil law and motion hearings, any other hearing or
trial in civil departments, or any afternoon hearing in Department 201 (probate). Parties may
arrange and pay for the attendance of a certified shorthand reporter. In limited jurisdiction
cases, parties may request electronic recording.

Amended Local Rule 3.95 states: "Except as otherwise required by law, in general civil case
and probate departments, the services of an official court reporter are not normally
available. For civil trials, each party must serve and file a statement before the trial date
indicating whether the party requests the presence of an official court reporter."

Courtesy copies of all law and motion papers shall be delivered directly to Department 518.



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IT IS THE DUTY OF EACH PLAINTIFF AND CROSS COMPLAINANT TO SERVE A COPY
OF THIS NOTICE IN ACCORDANCE WITH LOCAL RULES.

General Procedures

Following assignment of a civil case to a specific department, all pleadings, papers, forms,
documents and writings can be submitted for filing at either Civil Clerk's Office, located at
the Rene C. Davidson Courthouse, Room 109, 1225 Fallon Street, Oakland, California,
94612, George E. McDonald Hall of Justice, 2233 Shoreline Drive, Alameda, California,
94501 and the Hayward Hall of Justice, 24405 Amador Street, Hayward, California, 94544.
All documents, with the exception of the original summons and the original civil complaint,
shall have clearly typed on the face page of each document, under the case number, the
following:
                           ASSIGNED FOR ALL PURPOSES TO
                                   JUDGE Dennis Hayashi
                                     DEPARTMENT 518

All parties are expected to know and comply with the Local Rules of this Court, which are
available on the Court's website at: http://www.alameda.courts.ca.qov/Paoes.aspx/Local-
Rules(1) and with the California Rules of Court, which are available at
www.courtinfo.ca.gov.

Parties must meet and confer to discuss the effective use of mediation or other alternative
dispute processes (ADR) prior to the Initial Case Management Conference. The court
encourages parties to file a "Stipulation to Attend ADR and Delay Initial Case Management
Conference for 90 Days". Plaintiff received that form in the ADR information package at the
time the complaint was filed. The court's Web site also contains this form and other ADR
information. If the parties do not stipulate to attend ADR, the parties must be prepared to
discuss referral to ADR at the Initial Case Management Conference.
Schedule for Department 518
    The following scheduling information is subject to change at any time, without notice.
    Please contact the department at the phone number or email address noted above if
    you have questions.
    • Trials generally are held: Court Trials: Monday through Friday; 8:45 a.m. to 1:00
      p.m.

    • Jury Trials: Monday through Friday; 8:45 a.m. to 1:00

    • Case Management Conferences are held: Mondays, Tuesdays and Fridays at 2:30
      p.m.
    • Law and Motion matters are heard: Wednesdays and Thursdays at 2:30 p.m.
    • Settlement Conferences are heard: As scheduled by the judge.
    • Ex Parte matters are heard: Wednesdays and Thursdays at 2:30 p.m.
    • Pretrial Hearings are heard on Tuesdays at 2:30 p.m. (hearings are scheduled 2
      weeks prior to the trial date).

Law and Motion Procedures
To obtain a hearing date for a Law and Motion or ex parte matter, parties must contact the
department as follows:


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•   Motion Reservations
       Email:        dept518@alameda.courts.ca.gov
       Phone:        (510) 690-2727


•   Ex Parte Matters
       Email:        dept518@alameda.courts.ca.gov
       Phone:        (510) 690-2727


Tentative Rulings

The court may issue tentative rulings in accordance with the Local Rules. Tentative rulings
will become the Court's order unless contested in accordance with the Local Rules.
Tentative rulings will be available at:


•   Website: www.alameda.courts.ca.gov/domainweb, Calendar Information for Dept. 518
•   Phone: 1-866-223-2244




       Dated: 10/17/2017
                                          facsimile
                                          facsim de


                                                  Presiding Judge,
                                   Superior Court of California, County of Alameda




                                  CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and
not a party to this cause. I served this Notice by placing copies in envelopes addressed as
shown on the attached Notice of Initial Case Management Conference and then by sealing
and placing them for collection, stamping or metering with prepaid postage, and mailing on
the date stated below, in the United States mail at Alameda County, California, following
standard court practices.

               Executed on 10/18/2017
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                                                                        Deputy Clerk




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